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                             CURRICULUM VITAE

Mark Levin, MD Internal Medicine, Oncology, Hematology

Office Address:
596 Anderson Ave, #302, Cliffside Park, NJ 07010

Languages: Russian (fluent), Spanish (very good), Hebrew (Very good), Yiddish (basic)

1. Education
Undergraduate
College/University: Yeshiva University, New York, New York B. A. 6/1980
Graduate
College/University: SUNY - Downstate Medical College, Brooklyn, New York M.D.
5/1984
Herriott-Watt University, Edinburgh Business School, Scotland, UK, M.B.A., 12/05

2. Post Doctoral Training:
Internships and Residencies, Internal Medicine, New York Downtown Hospital, New
York, New York 1986 - 1987

Hahnemann University Medical Center, Philadelphia, PA 1984 - 1986

Long Island Jewish Hillside Hospital Medical Center, New Hyde Park, N.Y 1987 - 1990

3. Military Service: None

4. Licensure: New York, 1990, New Jersey, 2000

Worker’s Compensation Number (165212 – 2B) state of New York: Permits me to
serve as a reviewer and independent medical examiner in the state of New York. I am
very familiar with assessing accidental permanent and total disability injures and their
long term effects.

5. Certification:
American Board of Internal Medicine-9/1987
Oncology-certified 11/1989
Hematology-certified 11/1990 (re-certification required)

6. Narcotics Certification: DEA BLO415871 (Current NY, NJ)

7. University Appointments:
Department of Medicine. UMDNJ - Newark
Associate Professor of Medicine, 8/05 – 3/08
Clinical Associate Professor of Medicine, 3/08-3/09
Department of Medicine, Joan and Sanford I. Weil Medical College (Cornell)
Associate Professor of Clinical Medicine, 6/4/2003 - 12/03
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Department of Medicine, SUNY-Medical College
Associate Professor ofClinical Medicine, 6/1998 - 6/2000
Assistant Professor of Clinical Medicine, 1991-6/1998

8. Hospital Appointments:
University Hospital, UMDNJ
Newark. Attending, 9/05- 6/09

Holy Name Hospital, Department of Medicine
Associate Attending 9/03 – Current

Richmond University Medical Center
Associate Attending 8-08 - Current

Department of Medicine, Lincoln Medical and Mental Health Center
Attending, 11/00 - 8/2003

Department of Medicine, Brookdale University Hospital
Associate Attending, 4/96 - 6/00

Department of Medicine, NY Community Hospital
Assistant Attending, 3/96 - 9/00

Department of Medicine, Staten Island University Hospital
Attending, 4/92 - 9/96

Department of Medicine, New York Downtown Hospital
Assistant Attending, 7/90 - 4/92

9. Other Professional Positions:
President and CEO, Gaucher Centers of New York
A foundation dedicated to screening, diagnosis and facilitating treatment of patients with
Gaucher and other genetic diseases (1995-2005)

10. Awards and Honors:
Post-Graduate
Certificate of Achievement in Medical Research & Scholarly Activity, Department of
Medicine, Staten Island University Hospital, 1997

Honored by Philadelphia County, Medical Society for Humanity in Medicine, 1985

Graduate
Honors in Physiology, Pathology, Pharmacology, Pediatrics, American Society of
Anesthesiology, Preceptorship, 1980-1984




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Undergraduate
Summa Cum Laude, Belkin, Manhattan Borough President’s Citizenship Award,
Manicoff Award, 1977-1980

11. Membership on Boards of Directors or Trustees:
Medical Advisory Board, The Musella Foundation for Brain Tumor Research and
Information, 1993-2003

Medical Advisory Board, Actelion Pharmaceuticals, 2005 -current

12. Medical Student Experience:
Min-Med School, NJ Medical School, Introduction to Hematology and Oncology, 2006,
2007

New Jersey Medical School – Transition 2, Introduction to CBC, 2006-2008

Weil-Cornell
Introduction to Medicine (Hematology)
Spring 2003

SUNY-Downstate
Physical Diagnosis
1996-2002

13. Principal Clinical and Hospital Service Responsibilities:
UMDNJ - University Hospital in Newark, (8/05- 5/07)
Acting Chief of Hematology and Oncology

Holy Name Hospital (8/ 2003 - 7/2005)
Director, Sister Patricia Lynch Regional Cancer Center
Director, Hereditary Cancer Clinic
Director, Clinical Research
Director, Center for Jewish Genetic Diseases

Generations + Northern Manhattan Network (1/02-1/03)
(Lincoln, Metropolitan, Harlem Hospitals),
Health and Hospitals Corporation, the City of New York,
Director of the Network Cancer Center

Lincoln Medical Center, 11/00 – 8/03
Chief of Hematology and Oncology,
Chief of Service

Brookdale University Hospital and Medical Center, (9/96-3/7/00)
Co-Director, Division of Medical Oncology and Hematology
Director of Fellowship Training Program in Oncology and Hematology (11/96-3/7/00)



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Director of Clinical Research in Oncology and Hematology (11/96-3/7/00)
Founder and Physician-in-Charge of the Comprehensive Sickle Cell Disease Program
(6/97 - 3/7/00)
Medical Director of Brookdale Inpatient Hospice Unit and at Hospice of New York (7/98
- 3/7/00)

Staten Island University Hospital
Attending Physician (4/92 - 9/96)
University Coordinator for Immunology Research and Program Development (7/94-8/96)
New York Downtown Medical Associates (7/90 - 4/92)

14. Major Committee and Institutional Assignments:
At various institutions:
Chair, Cancer Center Steering Committee
Director, Palliative Care Program
Chair: Cancer Committee
Member: Transfusion Committee
Institutional Review Board
Ethics Committee
Chief of Service – Medicine
Director of Research, Department of Medicine

Editorial Boards
Drugs of Today
Drugs of the Future
Cancer Therapy
Reviewer, Southern Medical Journal, International Journal of Cancer
International Reviewer, Medical Science Monitor

15. Memberships, Offices, and Committee Appointments in professional societies:
None

16. Major Research Interests:
Lipid Storage Diseases, especially Gaucher Disease
Hereditary Breast and Ovarian cancers (BRCA related cancer) and Early Breast Cancer
Cancer Control: Community Education, Screening, and Outreach
Bioethics

17. Grant History:
Principal Investigator
Roche
Phase I study of Capecitabine and Gemcitabine in metastatic colorectal cancer and other
solid malignancies (2000 -2001) $40.000.00
(Study did not accrue because I changed positions)
Eli Lilly




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Phase I-II study of Cyclophosphamide, Doxorubicin, Gemcitabine in locally advanced
and metastatic breast cancer (1997- 2000)
$20.000.00 – Study Published
Rhone-Poulenc Rorer, Inc. and Glaxo
Phase II study of Taxotere /Vinorelbine/G-CSF in metastatic non-small cell lung
cancer (1997- 1999) $ 40.000.00, Study Published

18. Major Administrative Responsibilities:
     Acting Chief of Hematology and Oncology – UMDNJ- Newark
     Director, Sister Patricia Lynch Regional Cancer Center, Holy Name Hospital,
      Teaneck, NJ (11/2003 - 6/30/05)
     Director of Cancer Center, Generations Manhattan + Network of the Health and
      Hospital Corporation, New York, NY (1/2002/ - 1/2003)
     Chief, Section of Hematology and Oncology, Lincoln Medical and Mental Health
      Center, Bronx, NY (11/00 - 8/03)
     Associate Director of Cancer Center at Lincoln Medical and Mental Health
      Center; Chief of Service, Oncology/ Medicine (11/00 - 8/03)
     Co-director, Division of Medical Oncology and Hematology, Brookdale
      University Hospital, Brooklyn, NY (11/96 - 3/00)
     Director, Palliative Care Program ( 8/02 - 9/03)
     Medical Director, Hospice of New York (8/02 - 9/03)

19. Private Practice:
Renaissance General Medicine, Cliffside Park, NJ
Consultative Hematology and Oncology Practice for Russian speaking Community
(10/03 - Present)

Catskills Regional Cancer Center, Locum Tenens Oncologist, Harris, NY (7/10/00–
10/16/00)

HemOncare, PC and Brookdale University Hospital Faculty Practice, Brooklyn, NY, Part
time Private Community Practice (11/96 - 3/7/00)

Downtown Medical Associates, Multi-specialty group that functioned as de-facto faculty
practice at New York Downtown Hospital, New York, New York (8/90-4/92)

20. Articles:
Levin M, Veliz M, Anemia of medicinal leech therapy, New Jersey Journal of Medicine,
submitted

Levin, M. (2003). Breast Cancer: Issues in risk reduction, screening, surveillance, early
identification and treatment. Drug News Perspect, 16(6), 395-399.

Levin, M. (2003). Ethical, religious and cultural aspects of hereditary cancer in Jewish
communities. Cancer Therapy, 1(1), 261-262.



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Levin, M. (2003). Upper Venous Thrombosis (Editorial). Southern Medical Journal,
96(7), 1-2.

Levin, M., & Doss, R. (2002). Neuroendocrine carcinoma of the urachus. Uro-oncology,
2(3), 145-147.

Levin, M., Durgam, S., & Novetsky, A. (2002). Cytoxan, Adriamycin, Gemcitabine
(CAG) in the treatment of metastatic breast cancer. Cancer Investigation, 20(7), 872-875.

Gupta, M., & Levin, M. (2001). Gaucher disease presenting with littoral-cell splenic
lymphoma. American Journal of Hematology, 68, 61-62.

Levin, M., & Birnbaum, I. (2000) Jewish Bioethics? J Med Phil, 25, 469-484.

Levin, M. (2000). Creating a clinical research program in a teaching hospital
environment. Managed Care and Cancer, 2(2), 28-32.

Levin, M. (1999). Multiple home IV therapies for a patient with AIDS, Non-Hodgkin’s
lymphoma, Kaposi’s Sarcoma, CMV pharyngitis and Pneumocytis Carinii pneumonia.
Home Health Care Consultant: The Journal of Alternate Site Medicine and Management,
6(8), 10-11.

Levin, M. (1999). Screening Jews and genes: A consideration of ethics of genetic
screening within the Jewish community - challenges and responses. Genetic Testing,
3(2), 207-213.

Levin, M., Mermelstein, H., &Rigberg, C. (1999). Correlates of compliance with
recommendations for chemotherapy. Cancer Nursing, 22(5), 1-5.

Levin, M. (1998). How to write a case report. Res Staff Phys, 44, 60-63.

Modahar, C.J., Levin, M., Roy, J., &Conti M. (1996). Translocation (3:3) in a patient
with thrombocytopenia and erythroid dysplasia. Ca Genetic Cytogenetic, 87, 11-13.

Levin, M., & Cho, S. (1996). Acute tumor lysis syndrome in high grade lymphoblastic
lymphoma after a prolonged episode of fever. Med Ped Onc, 26:417-418.

Rollins, H., Levin M., & Goldberg S., Mody K.,& Forte F. (1995). Solitary
extramedullary plasmacytoma of the epiglottis. Otolaryngology-Head and Neck Surgery,
112, 754-757.

Levin, M., Pakarakas, R. M, Chung, H.A., Maiman, M., & Goldberg, S. (1995) Primary
mammary carcinoma of the vulva: A case report and review of the literature. Gyn Oncol,
56, 448-451.




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Levin, M, Klein, E., & Wertheim, S. (1995), Isolated intraosseous primary lytic
meningioma. J Neuroimaging, 5, 247-248.

Roth, R., & Levin, M. (1994). Subcutaneous emphysema. Consultant, 34(7), 1096.

Levin M., & Hertzberg L. (1994). Kaposi sarcoma of bone marrow presenting with fever
of unknown origin. Med Ped Onc, 22, 410-413, 1994.

Levin, M.(1994) Acute hypersplenism and thrombocytopenia: A new presentation of
disseminated mycobacterial infection      in patients with acquired immunodeficiency
syndrome. Acta Hematologica, 91, 28-31.

Levin, M., & Grunwald, H. (1994). Successful use of vincristine in refractory
thrombotic thrombocytopenic purpura. Acta         Haematologica, 85:37, 40.

Levin, M., Jacobs, J., & Polos, P. (1988). Acute mercury poisoning and mercurial
pneumonitis from gold ore purification. Chest, 94, 554-556.

22. Books and textbook chapters
Joglekar, S., & Levin, M. (2006). Colorectal Cancer, in L. Adama (Ed.), On Cancer in
Africa, English and French editions, Afro-cancer Foundation, Paris, 2006

Levin M. (1996). Novarodok: The movement that lived in struggle and its unique
approach to the problem of man. Livingston NJ: Jason Aronson Publishing Co.

Levin M. (2002). With all your heart: The Shema in Jewish liturgy, worship and life.
Jerusalem/ New York: Targum/Feldheim.

Levin. M (2006). The Rabbis’ Advocate, Hakham David Nieto and his Second Kuzari,
New York, Yashar Press

Levin M. The Dawn of Redemption: What the books of Ruth and Jonah teach about
alienation, redemption and return, in-press, Urim Publishers (French translation: Ruth:
Son Message et la Signification Dans Nos Vies, Collection ScripTorah, Paris, 2009)


23. Abstracts
Olympia, C., Portilla, D., & Levin, M. (2002). Utility of erythropoietin in anemia of
chronic illness. Proceedings of the Society of General Internal Medicine, 17, S1:129.

Levin, M, & Novetsky, A. (2000). A. Phase II study of Docetaxel and Vinorelbine for
advanced and metastatic non-small cell lung cancer. Proceedings of American Society of
Clinical Oncology, 19, 2068




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Fan, R., Levin, M., & Shin, S. J. (1999). Comprehensive sickle cell pain; Management
program impact on the length of stay and re-admission rates of patients with sickle cell
disease. Am College of Clin Pharmacy Annual Meeting Proceedings.

Levin, M., Ahmed, L. F., & Novetsky, A. (1999). Cytoxan, adriamycin, gemcitabine
(CAG) regimen in the treatment of metastatic and locally advanced breast carcinoma.
Breast Cancer Research and Treatment, 50:323, 1999.

Hayes, R.L, Levin, M., Musella, A., & Selker, R.G. (1999). Virtual trials: an internet
based brain tumor registry., Proceedings of American Association for Cancer Research,
#264.

Levin, M, & Novetsky, A. (1999). Docetaxel and navelbine for advanced and metastatic
non-small cell lung cancer. Proceedings of American Society of Clinical Oncology, #147.

Levin, M., Fan R. M, Ghani, M., & Novetsky, A. (1998). Comprehensive sickle cell
program: Impact on the length of stay and admission/readmission rate of patients with
sickle cell disease. National Sickle Cell Disease Annual Meeting Proceedings.

Levin, M. (1996) Factors associated with willingness to accept investigational
chemotherapy in patients with solid malignant tumors. Proceedings of American Society
of Clinical Oncology, 15,1639.

Dosik, D., Levin, M., & Hertzberg, L. (1993). Diagnostic utility of bone marrow core
biopsy, bone marrow aspiration with culture, and lysis centrifugation blood culture in
HIV patients with fever of unknown origin. Blood, 82, 2480.

Levin, M,, & Kalra, J, (1990). Cisplatin and plasma iron studies: An investigation of
patterns and correlation with toxicities. Proceedings of American Society of Clinical
Oncology, 9,301.

24. Reviews:
M. Levin, M. Veliz, New therapies in the treatment of renal cell carcinoma Drugs Fut
2007, 32(6): 527

Levin, M. Fabry's disease, Drugs of Today, 42(1):65-70, 2006

Levin, M. (2004). Multidisciplinary approach to breast cancer management. Drug News
Perspect, 17(3), 1-7

Joglekar, S., & Levin, M. (2004). The promise of Thalidomide: Evolving indications.
Drugs of Today, 40(3), 197-204.

Levin, M., & R, Doss. (2002). Neuroendocrine carcinoma of the urachus. Uro-oncology,
2(3), 145-147.




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Levin, M., & D’Souza, N. (2002). Iressa, Drugs of the Future. 27(4), 339-345.

Levin, M., & D’Souza N. (2001). Fulvestrant. Drugs of the Future, 26(9), 841-849.

Levin, M., Pleskova, I., & Pastores, G. (2001). Gaucher disease in adults. Drugs of
Today, 37(4), 257-264

Levin, M. (2001). Recent advances in platelet and bone marrow physiology and
myeloproliferative and myelodysplastic disorders. Drugs of Today, 37(12), 803-809.

Levin, M. (2001). Taxanes in breast cancer chemotherapy. Drugs of Today, 37(1), 57-65.

Levin, M. (2001). Breast Cancer: A Backgrounder. Prous Sciences: Drug Research and
Development, prous.com

Levin, M. Breast Cancer: A Backgrounder. Prous Sciences: Drug Research and
Development, prous.com

Levin, M (2000). Gaucher Disease, Adam.com Online Medical Encyclopedia, 2000

Levin, M. (1999). Basic medical ethics. Res Staff Phys 45(8), 56-64.

Levin,M. (1998). How to write a case report. Res Staff Phys, 44, 60-63.

Levin, M. (1997). Chemotherapy in Brain Cancers. http:\\www.virtualtrials.com.

25. Reports, Letters
Levin, M. (2003). Direct to consumer advertising for genetic testing. JAMA, 289(1), 45-
46.

Levin, M. (1998). Familial Mediterranean Fever. Ann Int Med, 129, 581-582.

Levin, M. (1998). The yield of bone marrow biopsy and culture compared with blood
culture in the evaluation of HIV infected patients for mycobacterial and surgical
infections.     Am J Med, 105, 457-458.

Levin, M. & Aziz, M. (1997). Steroid responsive pneumonitis after fludarabine therapy.
Chest, 111, 1472-1473.

Levin, M., Caravone, D., Geiser, C. (1996) Mitoxantrone extravasation and tissue
necrosis. Amer J Health-System Pharm, 53, 1194-1195.

Levin, M. (1994). Splenectomy in AIDS. AIDS 8(1), 138.

Levin, M. (1993). Silicon implants and the risk of breast cancer. NEJM, 328, 661.




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Levin, M. (1993) Scientific misconduct. JAMA, 269, 3105, 1993

Levin, M. (1993). Clinical problem solving: Lucky lady. NEJM, 329(4), 279.

Levin, M. (2003). Colon cancer: ASCO 2003 Meeting report. Drug News and
Perspectives, 16(5), 293-237.

Levin, M. (2001). Chemotherapy Foundation XIX: Innovative           cancer therapy for
tomorrow. Drugs of Today, 37(12), 823-828.

Levin, M. (2001). Meeting Report of the American Society of Preventative Oncology.
Drugs of Today, 37(4), 275-279.

Levin, M. (5/16/2001). 4th Annual Gastric Cancer Congress, Timely Topics in
Medicine:Oncology/ Gastroenterology. ttmed.com, 5/16/01

Levin, M. (2003). Beyond Psychology, Jewish Action, 64 (2), 22- 25, 2003

Levin, M. (2000). Advances in controlling chemotherapy induced nausea and vomiting.
cbshealthwatch.com.

Levin. M. (2000). Thalidomide: Old scourge, new promise.            cbshealthwatch.com.

Levin, M. (2000). Hypercalcemia of Malignancy. cbshealthwatch.com.

26. Patents: None

Appendix

Invited Speaker at International of National Meetings within the past 5 years:

A. International
Gemcitabine based chemotherapy for metastatic breast cancer, Gemcitabine
Investigators Meeting, San Antonio, Tx., 3/4/00

BRCA related cancers, Why is this gene different from other genes, Columbia University
Institute for Science and Religion, 2/16/03

B. National and Local

ZavescaL Recent Advancements and Slide Review, Actelion Corporation Medical
Boards, 7/22/08 and 9/23/08

BRCA Related Breast and Ovarian Cancers, Grand Rounds for the Department of
Medicine, East Orange VA, May 27, 2006




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Inherited Breast and Ovarian Cancer, Cancer Center Grand Rounds, UMDNJ- Newark,
May 22, 2006

Department of Medicine Combined Grand Rounds (University Hospital, Hackensack
University Medical Center, East Orange VA), Inherited Illness in Ashkenazi Jewish
Communities, March 22, 2006

Where we come from: Genetics and genetic markers. Congregation Sons of Israel,
Lakewood, NJ, 3/8/05

Organizer and Chair of Planning Committee, Conference on Jewish Genetic Disorders,
Teaneck NJ, 11/11/04 (http://www.holyname.org/about_holy_name/conference.htm)

Gaucher Disease and Mucolipidoses, Pediatric and Gynecology Combined Grand
Rounds, Kimbal General Hospital, Lakewood, NJ, 11/8/04

Genetic Illness: Scientific and Clinical Concepts, Association of Orthodox Jewish
Scientists Annual Convention, Spring Glen NY, 8/1/04

Adjustment to Genetic Illness: Family and Communal Issues, Center for Applied
Psychology, Spring Valley, NY, 6/14/04

Hereditary Breast and Ovarian Cancer, CME, Englewood, NJ, 6/8/04

Lipidoses, Russian AMA. Boston, MA, 6/1/04

Hereditary Breast Cancer, Medicine Grand Rounds, Holy Name Hospital, Teaneck, NJ,
10/17/03

Update in Oncology, Medicine Grand Rounds, Holy Name Hospital, Teaneck, NJ,
1/27/04

Ovarian Cancer Overview, Ob/ Gyn Grand Rounds, Holy Name Hospital, Teaneck, NJ,
3/17/04

Grand Rounds in Obstetrics and Gynecology, Overview of Breast Cancer Issues, Lincoln
Medical and Mental Health Center, Bronx, NY – 12/11/02

Issues in Screening and diagnosis of BRCA1 and 2 breast cancers in the high risk
populations, Sara Lawrence College Program in Human Genetics Symposium, 3/28/ 02

Gaucher and Related Diseases, Pediatric Grand Rounds, Good Samaritan Hospital,
Suffern, NY, 10/17/01

Genetic Screening in the Jewish Community (Keynote Lecture), Association of Orthodox
Jewish Scientists Annual Meeting, New Paltz, NY, 8/5/2001



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Breast Cancer, Grand Rounds in Internal Medicine, Lincoln Medical and Mental Health
Center, Bronx, NY, 12/16/01

Creating and Managing a Clinical Research Program, Cancer Center of Albany
University Medical Center, 9/15/01




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